     Case 4:20-mj-00007-JTK Document 1 Filed 01/21/20 Page 1 of 8
                                          ____,_,_       ____
                                                   ,.._......
                                          MEMOlANDUM
                                                     '


                                     Case No.            8-14-CR-W-DGK

                              Viofatiou R                 rant Recommended
                                                  l
                                            Decemb r 20, 2019

TO THE 1" ONORABLE GREG KAYS
             U.S. DISTRICT JUDGE:

Sentencin

Offense: I
            l         Count l : Conspiracy to Distri ute Some Amount ofI'vi;thamphetamine
                      Count 2: Conspiracy to Comn it Money Laundering

 Date Sen 1ence Imposed:         11/24/2014      Sen nee Imposed:    Cts.1&2: 96 months
                                                                     custody, to run concurrently
                                                                     Cts. 1&2: 36 months TSR,
                                                                     to run concurrently
                                                                     $200 special assessment

Special C 1ditions:
       Su stance Abuse Treatment and Testing
       N     cohol
       W$MO Employment Guideline
        M tal Health Treatment
       S ch and Seizure

           sfy Warrant/Pending Charges
        No Driving (suspended 4/30/2019)

Date Supe vision Began:         4/9/2019         Expiration Date:    4/8/2022

Ailee              ons

                                         'tion, which reads, ·•The defendant shall refrain
                 any unlawful use of a controlled substance."

        V lation of Standard Condition, which reads, "The defendant shall refrain
        froJn excessive use of alcohol and shall not purchase, possess, use, distribute,
        or ~dminister any controlled substance or any JHt:raphernalia related to any
        co~troUed substances, except as prescribed by a physician."



            l   Test/~~:~:n~!n No.
                weat Patch/000187324
                                                Test Date
                                            l l/26/19~ 12/3/19
                                                                      Test Result
                                                                    Methamphetamine
          Case 4:20-mj-00007-JTK Document 1 Filed 01/21/20 Page 2 of 8
-.


            Vi lation of Standard Condition, which reads, "The defendant shall notify the
            pr bation officef ten days prior to any change in residence or employment."

           her 18, 2019, Cain moved into the Hammond Place Oxford House located in Gladstone,
            n December 19, 2019, this officer spoke with the house manager who reported that
           ot stayed the night there the previous two evenings. The house manager reported Cain
 was mco      unication with her until approximately 8:30 p.m. on December 17, 2019. She has not
 heard fro Cain since then. Cain has not contacted this officer to notify of any changes in her
 residency r her current whereabouts.

            Vi   lation of S ecial Condition which reads, "The defendant shall successfully
            pa    ·cipate in any substance abuse counseling program, which may include
            u     alysis, sweat patch, or Breathalyzer testing, as approved by the Probation
            0    ice and pay any associated costs as directed by the Probation Office."

                 er 19, 2019, Cain was scheduled to meet with her counselor at ReDiscover at 6:00 p.m.
                 to report to her scheduled appointment. She did not call or make any notification to
                 or counselor about her whereabouts.

 Previous        iolations in Instant Su ervision

     Conduct

                  the Re-Entry Court (REC) program on April 18, 2019. Unfortunately, Cain struggled
                  ginning of supervision with stability in regard to her sobriety, decision making, and
                 ily support system.

     On April 8, 2019, Cain submitted a sweat patch yielding positive results for methamphetamine.
     She denie any use of illicit substances. She was sanctioned with a loss of four weeks of credit
     towards h r phase one programming.

                 , 2019, Cain submitted a sweat patch yielding positive results for methamphetamine.
                  any use of illicit substances. She was sanctioned with a loss of two weeks of credit
                  phase one programming, and two consecutive days of incarceration.

                2019, Cain was arrested for possession of drug paraphernalia. She was in violation for
     the new I   violation and being in association with another known felon. Cain was sanctioned
     with 30 d ys of location monitoring with a home detention schedule, complete weekly support
     group mee ings, and the loss of two weeks of credit towards phase one programming.

     On Septe ber 17, 2019, this officer received an information call from the Gladstone, Missouri
     Police De artment, reporting having contact with Cain at a "high crime rate residence", with
     another     wn felon. The reporting officer wanted to make the Probation Office aware of the
     situation, s it was concerning behavior for both Cain and the other known felon. Cain was
     sanctioned with the loss of two weeks of credit towards phase one programming.
      Case 4:20-mj-00007-JTK Document 1 Filed 01/21/20 Page 3 of 8




On Octob 8, 2019, Cain submitted a diluted urine specimen for testing, and was directed to have
a sweat atch applied immediately. Upon this directive, Cain admitted to relapsing on
methamph tamine, and requested assistance with intensive treatment. The Court sanctioned Cain
with competing inpatient treatment. Cain completed inpatient treatment on November 15, 2019.

On Nove her 22, 2019, Cain submitted a sweat patch yielding positive results for
methamph tamine. On December 5, 2019, Cain was terminated from the REC program.



Cain's adj stment to supervision is considered poor. Despite the numerous attempts of the
Probation ffice and REC team to assist Cain with her issues within the community, she is unable
to comple e her community supervision at this time. Cain has reported working for Express
Tempor       Agency, and placed at a warehouse in Kansas City, Missouri. She has been
participati g in structured drug testing through sweat patch testing, code-a-phone, and random
urinalysis sting. Cain is also administered random breathalyzer tests during all contacts with this
officer. S was attending weekly dual diagnosis counseling sessions through Rediscover, and
meeting th the psychiatrist. Recently, she completed 28 days of inpatient treatment through
Pathways· Warrensburg, Missouri.

Recomme dation

Cain has s    own a blatant disregard of the conditions of supervision by continuing to test positive
for metha     phetamine, even though she has been afforded a slew of community resources to deter
this type o    behavior. This officer respectfully recommends that a supervised release violator's
warrant b     issued for Cain's arrest, and that she be ordered to appear before the Court for a
               earing. At this point, it is clear from these serious violations that Cain has no intention
              y the requirements of community supervision.

Assistant .S. Attorney Bruce Rhoades was notified of this recommendation and has presented no
objection.

             r Honor concur, the appropriate Order is attached. Should Your Honor desire other
action, pie se advise

I declare u der penalty of perjury that the foregoing is true and correct.

                                                   Respectfully submitted,

                                                  ~tll.
                                                   Stephanie L . ~
                                                   U.S. Probation Officer
SLW:beh
Attachme s
cc: Bruce
                oades, AssT--Wmey                               S       .
Approved:       ------Jf>"-6-~...,~-==t=t!I~::>--------''        uperv1sor
      Case 4:20-mj-00007-JTK Document 1 Filed 01/21/20 Page 4 of 8



                    UNITED STATES OF AMERICA v. Stephanie Jo Cain

                              Case No. 12-00268-14-CR-W-DGK

                                     Stephanie L. Werning
                                     U.S. Probation Officer

                                   LIST OF VIOLATIONS


       Vi lation of Mandato Condition which reads, "The defendant shall refrain
       fro any unlawful use of a controlled substance."

       Vi lation of Standard Condition which reads, "The defendant shall refrain
       fro excessive use of alcohol and shall not purchase, possess, use, distribute,
       or dminister any controlled substance or any paraphernalia related to any
       co trolled substances, except as prescribed by a physician."

                 Type of
            Test/Specimen No.             Test Date                 Test Result
           weat Patch/000187324        l 1/26/19-12/3/19        Methamphetamine

       Vi lation of Standard Condition, which reads, "The defendant shall notify
       th probation officer ten days prior to any change in residence or
       em loyment."

On Nove her 18, 2019, Cain moved into the Hammond Place Oxford House located in
Gladstone, Missouri. On December 19, 2019, this officer spoke with the house manager who
reported at Cain had not stayed the night there the previous two evenings. The house manager
reported    in was in communication with her until approximately 8:30 p.m. on December 17,
2019. She as not heard from Cain since then. Cain has not contacted this officer to notify of any
changes in her residency or her current whereabouts.

       Vi lation of S ecial Condition which reads, "The defendant shall
           essfully participate in any substance abuse counseling program, which
            include urinalysis, sweat patch, or Breathalyzer testing, as approved by
           Probation Office and pay any associated costs as directed by the


On Dece er 19, 2019, Cain was scheduled to meet with her counselor at ReDiscover at 6:00
p.m. Cain ailed to report to her scheduled appointment. She did not call or make any notification
to this offi er or counselor about her whereabouts.
                 Case 4:20-mj-00007-JTK Document 1 Filed 01/21/20 Page 5 of 8

  PROB!'!                                UNITED STATES DISTRICT COURT
  (Rev. 5/92)

                                                                    for



U.S.A. vs.               HANIE JO CAIN



TO:        any Unit d States Marshal, or his deputies, or any other authorized law enforcement officer


                                 WARRANT FOR ARREST OF SUPERVISED RELEASEE
                You fire hereby commanded to arrest the ,vithin-named Supervised Releasee and bring
                him d>r her, forthwith, before the United States District Court to answer charges that he
                or sh~ violated the conditions of his or her Supervised Release imposed by the court.
 NAME OF SUPE VISED RELEASEE                   SEX                                                          AGE
 Stephanie Jo tjain                            Female                                                       30
ADDRESS (S1REET, i                                                  orth Park Avenue
CITY, STATE)                                                 Gladstone, MO 64118


 SENTENCE IM             SED BY (NM.ffi OF COURT)                                      DATE IMPOSED
  WESTERN                  RICT OF MISSOURI - KANSAS CITY                              11/24/2014
 TO BE BROUGHT            ORE (NAME OF COURT, CITY, STATE)
 U.S. District            rt
 \Vestern Dis             of Missouri
 Kansas City1            0 64106


 COURT EXECUT!\jE
                     t
        Paige WY1D10re-Wynn




                                                            RETURN
                                                            DATE RECEIVED              DATE EXECUTED
                    ~
  Warrant received and executed.
                    't
 EXEClJTlNG               (NAME AND ADDRESS)




 NAME                                                (BY)                              DATE
Case 4:20-mj-00007-JTK Document 1 Filed 01/21/20 Page 6 of 8
       Case 4:20-mj-00007-JTK Document 1 Filed 01/21/20 Page 7 of 8




                          UNITED STATES DISTRICT COURT FOR THE
                              WESTERN DISTRICT OF MISSOURI
                                   WESTERN DIVISION


UNITED TATES OF AMERICA,                                            )
                                                                    )
                Plaintiff,                                          )
        vs.                                                         )
STEP          IE JO CAIN                                            ) Case No.12-00268-14--CR~W..I)GK
                                                                    )
                Defendant.                                          )


                   ORDER FOR ISSUANCE OF WARRANT FOR ARREST

                ember 20,.2019; the Probation Office for the Western District of Missouri transmitted a
"violation r port" recommending that a warrant for arrest be issued. For good cause ~ing and on the
recommen tion of the Probation Office, it is ORDERED that the Clerk of the Court shall forthwith
issue a warr«mt for arrest directed to any United States Marshal, or any other authorized officer. directing
              e Jo Cain be taktminto custody and that she be brought before the nearest availa\,1e United
                  Judge to determine whether there is probable cause to believe that StephanieJo Cain
has commi ed one or more acts constituting a violation of the Conditions of Supervised Release, thus
requiring      she be held for a final revocation hearing before a Judge of this Court.




                                                                            ECF DOCUMEPJ1'
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                                                                Olstricteotirt f




                                                                              GREG KAYS
                                                                         U.S. DISTRICTJUDOE




Dated at ansas City, Missouri, this               20th     day of    December , 2019.
                                                                    ------

  Case 4 12~cr-00268-DGK Document 802 (Court only)                          Filed 12/20/19 Page 1 of 1
                   Case 4:20-mj-00007-JTK Document 1 Filed 01/21/20 Page 8 of 8
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